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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 MARY C. TERRELL,
                     Plaintiff,                  CIVIL ACTION FILE NO.
            v.                                   1:21-cv-04613-MHC-CMS
 CITY OF FORREST PARK, et al.,
                    Defendants.
                                      ORDER

      This case was stayed until September 6, 2022, at the parties’ request, so that

they could engage in mediation and possibly resolve the claims in this action. [Docs.

24, 25]. If the case has settled, the parties are hereby ORDERED to provide a written

notice to the court to that effect within SEVEN DAYS of the date of this Order, and

a date by which the case will be dismissed. If the case did not settle, the parties are

ORDERED to provide a joint status update to the Court within SEVEN DAYS of the

date of this Order, and a proposed revision to the Scheduling Order setting forth what

extension to the discovery period is necessary to complete discovery in this case.

      IT IS SO ORDERED, this 14th day of September, 2022.
